     Case 1:25-cv-01674-RDM           Document 21-3         Filed 06/13/25      Page 1 of 12




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 NATIONAL PUBLIC RADIO, INC., et al.,

                               Plaintiffs,          Civil Case No. 25-cv-1674

                v.
                                                    DECLARATION OF
 DONALD J. TRUMP, et al.,                           DAPHNE KWON
                               Defendants.




                           DECLARATION OF DAPHNE KWON

I, Daphne Kwon, hereby declare as follows:

       1.      I am over 18 years of age, am competent, and make this declaration based upon my

own personal knowledge. I make this declaration in support of Plaintiffs’ Motion for Summary

Judgment. If called to do so, I could and would competently testify to these matters under oath.

       2.      I am the Chief Financial Officer (CFO) and Treasurer at National Public Radio, Inc.

(NPR), a position I have held since June of 2023. As NPR’s CFO, I am responsible for overseeing

the organization’s financial operations and for providing effective leadership for the teams that

manage NPR’s financial, human resource, and facilities operations. I have been a media executive

for over thirty years and have served in key leadership roles at several major media organizations.

I was the Chief Strategy Officer at Meredith Corporation, a publicly traded media conglomerate.

I was the CFO at Oxygen Media and worked in strategy and development at The Walt Disney

Company. I have been responsible for the oversight of NPR’s Fiscal Years 2023 and 2024 audited

financial reports, and for the development of the operating budgets for NPR including the Public

Radio Satellite System (PRSS) in Fiscal Years 2024 and 2025.




                                                1
        Case 1:25-cv-01674-RDM          Document 21-3        Filed 06/13/25       Page 2 of 12




   I.         NPR’s Mission and its Relationship with its Member Stations

         3.      Founded in 1970, NPR is an independent, nonprofit media organization that serves

millions of Americans each day. NPR is not a public radio station, nor does it operate one. Instead,

NPR produces, acquires, and distributes programming, including national news programming, that

is made available to independent locally owned and operated public radio stations around the

country. NPR’s mission is to work with those local public radio stations to cultivate an informed

public, fostering a deeper understanding and appreciation of events, ideas, and cultures.

         4.      For decades, NPR has delivered independent, accurate, fact-based journalism. All

Things Considered, NPR’s flagship news program, is the most listened-to afternoon drive-time,

news radio program in the country. Since its debut in 1971, All Things Considered has provided

listeners with the biggest stories of the day, thoughtful commentaries, and insightful features on

arts and life, music and entertainment. All Things Considered and NPR’s weekday morning radio

news program, Morning Edition, draw on reporting from correspondents based around the world,

and producers and reporters in locations throughout the United States.

         5.      NPR has upheld, and continues to uphold, the highest standards of public service

in journalism. NPR’s excellence in journalism has repeatedly been recognized. In recent years,

for example, NPR has won a Pulitzer Prize, eight Edward R. Murrow awards, two National Press

Club awards, and an Alfred I. duPont-Columbia award for its exceptional journalism

         6.      NPR ensures the integrity and high standards of its journalism through multiple,

rigorous safeguards. NPR maintains an editorial firewall that protects NPR’s newsroom from

political and other interference in its editorial decisions. This firewall is a critical feature of our

public broadcasting system.




                                                  2
     Case 1:25-cv-01674-RDM            Document 21-3         Filed 06/13/25       Page 3 of 12




       7.      In addition, NPR requires all editorial staff to adhere to stringent ethics policies set

out in the NPR Ethics Handbook.1 The NPR Ethics Handbook instructs editorial staff to pursue

the core journalistic values of accuracy, fairness, completeness, honesty, independence,

impartiality, transparency, accountability, respect, and excellence. Among other things, the NPR

Ethics Handbook prohibits staff connected with news coverage from making contributions to

political campaigns or referendums.

       8.      These safeguards, among others, enable NPR to be a trusted, independent news

provider. NPR fills critical news and information gaps in America’s communities with fair,

accurate, and fact-based reporting. Indeed, NPR’s role in disseminating factual, non-partisan news

supports a functioning democracy and an informed public.

       9.      In addition to producing news and other programming such as Tiny Desk Radio,

NPR also manages and operates the PRSS, the nation’s public radio interconnection system. The

PRSS delivers hundreds of thousands of hours of news, music, and other programming from a

wide range of producers each year to public radio stations across the country and plays a vital role

in ensuring that essential information reaches all Americans during times of emergency.

       10.     A local public radio station may choose to become an NPR Member station. NPR

currently has 246 Member stations across the country, including in the District of Columbia, U.S.

Virgin Islands, and Guam, collectively operating more than 1,000 public radio signals and

hundreds of digital platforms.

       11.     NPR Member stations pay a membership “core fee” to license certain NPR content,

which may include Morning Edition, All Things Considered, and Weekend Edition. Member




1
 The Ethics Handbook is available online at https://www.npr.org/series/688409791/npr-ethics-
handbook.
                                                  3
     Case 1:25-cv-01674-RDM             Document 21-3       Filed 06/13/25      Page 4 of 12




stations receive other benefits as well, including NPR-led advocacy on behalf of the public radio

system, digital services, and music licensing support, among other things. Member stations may

also choose to license additional content from NPR such as specific news, talk, entertainment, or

music programs. NPR Member stations participate in NPR’s governance, including voting for and

serving on NPR’s Board of Directors.

         12.      A Member station’s “core fee” is calculated on an individualized basis based on a

variety of factors to ensure alignment with the station’s revenue size. It is not based on the amount

of federal support that a Member station may receive from the Corporation for Public Broadcasting

(CPB or the Corporation).

         13.      Based on my experience and knowledge of the relationship between NPR and its

Member stations, I know that Member stations choose to acquire content from NPR for a variety

of reasons, including audience interest, the needs of their local communities, the relative cost of

acquiring such programming, especially in comparison to its value to the station and its listeners,

and their own journalistic and editorial judgments about the quality of NPR’s programming. In

many rural areas, NPR Member stations are the only providers of free local and national news, and

reliable emergency information.

   II.         Federal Funding for Public Media

         14.      Federal funds appropriated by Congress to the Corporation—a private, nonprofit

corporation—are the backbone of the public broadcasting system. The Public Broadcasting Act

of 1967 details how the Corporation must allocate its general appropriation from Congress.

         15.      CPB funding is appropriated by Congress in two-year advancements to ensure the

Corporation’s independence and the independence of the public media system as a whole.




                                                  4
     Case 1:25-cv-01674-RDM               Document 21-3        Filed 06/13/25      Page 5 of 12




Congress has appropriated $535 million in general funding for the Corporation for Fiscal Years

2025, 2026, and 2027.

          16.      The Corporation distributes the vast majority of public radio funding to local public

radio stations. In general, stations may apply for two types of grants from the Corporation. The

first, called “unrestricted” Community Service Grants (CSGs), can be used to fund programming

and production, educational outreach, broadcasting, transmission, distribution, and other

operational expenses. The second, called “restricted” CSGs, must be used to acquire or produce

programming that is distributed nationally and serves the needs of national audiences.

          17.      Member stations may use restricted CSG funds to acquire NPR content or content

from other national producers. Public radio stations may also use these funds to produce

programming locally and distribute it regionally or nationally. For some local public radio stations

in rural or remote areas, CPB grants constitute 50 percent or more of their operating budgets.

          18.      Local public radio stations choose how to spend their CSG funds—just as they

choose what content to broadcast. Local public radio stations may choose to become NPR Member

stations, but they are not required to do so.

   III.         NPR’s Funding Sources

          19.      NPR is funded primarily through sponsorships, donations from individuals and

private entities, membership and licensing fees from local public radio stations, direct funding

from the Corporation, and direct funding from other government grants, including grants awarded

by the National Endowment for the Arts (NEA).

          20.      In total, NPR received approximately $100 million, or approximately 31 percent of

its annual operating revenue, through membership fees and the licensing of content to its 246

Member stations and other public radio stations in Fiscal Year 2024.



                                                     5
     Case 1:25-cv-01674-RDM              Document 21-3       Filed 06/13/25      Page 6 of 12




         21.      NPR also receives direct funds through grants from CPB. For Fiscal Year 2024, it

spent approximately $11.1 million, in total, in grants from the Corporation for programming and

to support the PRSS. NPR must apply for such grants and comply with the terms of any applicable

grant agreements, including, for example, by producing grant reports. Approximately $6.8 million

of that funding came from a grant specifically designated to support the PRSS. Approximately

$4.3 million of that funding came from competitive grants used, among other things, to provide

safety and security for journalists working in war zones, produce content regarding the war in

Ukraine, and provide support for local news stations in rural areas.

         22.      For the past several years, NPR also has received grants from the NEA. In 2024,

NPR was awarded approximately $65,000 in NEA grant funding.

   IV.         The Executive Order and its Effect on NPR

         23.      On May 1, 2025, President Trump issued Executive Order 14290, titled “Ending

Taxpayer Subsidization of Biased Media” (the Order), which purports to direct federal agencies as

well as the Corporation to stop NPR and PBS from receiving any federal funding.

         24.      The Order instructs federal agencies and the Corporation to cease direct funding to

NPR, jeopardizing critical sources of funding used by NPR to (among other things) protect

journalists working in war zones and maintain and operate the PRSS.

         25.      Federal agencies have already begun to implement the Order. Just one day after

President Trump issued it, NPR received via email a notice that NEA was terminating a grant

awarded to NPR. A true and correct copy of that notice is attached hereto as Exhibit A. I

understand that if the NEA is not prohibited from implementing the Order that NPR will be

ineligible for NEA grants moving forward.




                                                   6
     Case 1:25-cv-01674-RDM             Document 21-3         Filed 06/13/25       Page 7 of 12




        26.     The Order further purports to require the Corporation to prohibit local stations from

using CPB grants to pay membership and licensing fees to NPR. Prohibiting CPB funds from

flowing to NPR from local public radio stations would destabilize NPR’s funding model. NPR

receives around $100 million in revenue from Member stations, which for Fiscal Year 2024

constituted about 31 percent of NPR’s budget. A loss of or significant decline in that funding

would dramatically harm NPR’s ability to execute its mission.

        27.     Federal funding serves as both a financial backbone and a public commitment to

the values of accessible, accountable journalism and public media. NPR stands to suffer profound

and irreversible harm if it is ineligible to receive federal funds directly or indirectly.

        28.     Without federal funding, NPR would be forced to take immediate cost-saving

measures, including but not limited to, eliminating or scaling back critical emergent coverage areas,

like the war in Ukraine. NPR also may be required to lay off staff and/or terminate existing

positions, which would affect the quality, depth, and breadth of news coverage, the performance

of the PRSS and emergency broadcast services, and the amount of content provided to Member

stations, which would place more of a burden on those stations’ ability to operate.

        29.     As a nonprofit, NPR cannot turn to traditional external investors such as private

equity or public stock markets to make up for lost federal funding. In addition, endangering the

quality of our news coverage and other programming puts downward pressure on all of our existing

revenue streams. The loss of federal funding would have an immediate as well as a long-term

negative impact on all sources of revenue generated by NPR.

        30.     The scale and scope of the harm NPR would face if the Order were implemented

and enforced extends beyond financial loss to undermining NPR’s core public service mission,




                                                   7
     Case 1:25-cv-01674-RDM             Document 21-3        Filed 06/13/25       Page 8 of 12




jeopardizing public safety, and threatening the existence of non-commercial cultural programming

and fact-based news that is accessible, for free, to all Americans.

       31.     A loss of federal funding would jeopardize NPR’s ability to produce and distribute

programs like All Things Considered, Morning Edition and Tiny Desk Radio to local public radio

stations around the country. NPR’s news and other programming cannot simply be replaced or

replicated. It is the product of decades of credibility-building, editorial rigor, and community trust.

If forced to reduce or eliminate news coverage and other programming, NPR would lose the

confidence of its Member stations, other public radio stations that air NPR programming, as well

millions of listeners and supporters—suffering irremediable institutional damage.

       32.     Further, the weakening of NPR would undermine the entire public radio system.

Local public radio stations choose to pay membership and licensing fees to NPR in part due to the

positive economic benefits such membership and programming provide to the stations’ financial

livelihood. Based on my experience and knowledge of the relationship between NPR and its

Member stations, I know that Member stations rely heavily on NPR’s programming and

infrastructure, and a disruption in this relationship would jeopardize the financial and operational

sustainability of these independent public radio stations. That, in turn, would diminish the

availability of local journalism and other programming in communities across the country

particularly in rural, Tribal, and underserved urban areas where NPR Member stations may be the

free providers of free, fact-based news and information.

       33.     Equally critical is the risk to public safety. If federal funding is cut, NPR’s ability

to maintain and operate the PRSS will be seriously compromised.

       34.     The Order states that its purpose is to terminate federal funding to NPR and PBS

because “neither entity presents a fair, accurate, or unbiased portrayal of current events.”



                                                  8
     Case 1:25-cv-01674-RDM             Document 21-3        Filed 06/13/25       Page 9 of 12




       35.     By asserting that NPR is “biased,” the Order unfairly and inaccurately attacks

NPR’s credibility as news outlet and seeks to undermine NPR’s reputation as a reliable source for

independent and fact-based journalism. By basing its directives on the content and perceived

viewpoints expressed in NPR’s news and other programming, the Order puts NPR on notice that,

if it is ever to receive federal funding again, it must adapt its journalistic and editorial choices to

suit the government’s preferences.

       36.     NPR has a First Amendment right to be free from government attempts to control

the content of its news and other programming, as well as from retaliation aimed at punishing and

chilling its journalism and protected speech. By retaliating against NPR for the substance of its

news and other programming, the Order violates our fundamental First Amendment rights as an

organization, and harms NPR’s core journalistic mission.

       I declare under the penalty of perjury that the foregoing is true and correct.



       Dated: Washington, D.C.
              June 12, 2025


       _______________________________
       Daphne Kwon




                                                  9
Case 1:25-cv-01674-RDM   Document 21-3   Filed 06/13/25   Page 10 of 12




                         EXHIBIT A
                                                                                      Case 1:25-cv-01674-RDM                                                                                                                                     Document 21-3     Filed 06/13/25      Page 11 of 12


                                                                                                                                                                                                                                                         Tuesday, May 6, 2025 at 5:55:07 PM Eastern Daylight Time

     Subject:                                                                                                                                    FW: Notice of Termination: NEA AWARD 1930529-34-24, National Public Radio, Inc.
     Date:                                                                                                                                       Tuesday, May 6, 2025 at 2:58:03 PM Eastern Daylight Time
     From:                                                                                                                                       Austin Frank
     To:          Keonna Austin
     Attachments: image001.png




                                                                 Aus%n Frank | he/him | Director, Ins%tu%onal Giving | afrank@npr.org | 440.636.2263

From: no-reply@arts.gov <no-reply@arts.gov>
Sent: Friday, May 2, 2025 8:19 PM
To: Keith Jenkins <KJenkins@npr.org>; Aus%n Frank <AFrank@npr.org>; Daphne Kwon
<CFOGrantsQueue@npr.org>; claytora@arts.gov
Subject: No%ce of Termina%on: NEA AWARD 1930529-34-24, Na%onal Public Radio, Inc.
Dear Daphne Kwon: This is to inform you that the above referenced Na%onal Endowment for the Arts award has been terminated, eﬀec%ve May 31, 2025. The NEA is upda%ng its grantmaking policy priori%es to focus funding on projects that reﬂect
ZjQcmQRYFpfptBannerStart




                            External Email - Use Caution

ZjQcmQRYFpfptBannerEnd




Dear Daphne Kwon:

This is to inform you that the above referenced National Endowment for the Arts award
has been terminated, effective May 31, 2025.

The NEA is updating its grantmaking policy priorities to focus funding on projects that
reflect the nation's rich artistic heritage and creativity as prioritized by the President.
Consequently, we are terminating awards that fall outside these new priorities. The NEA
will now prioritize projects that elevate the Nation’s HBCUs and Hispanic Serving
Institutions, celebrate the 250th anniversary of American independence, foster AI
competency, empower houses of worship to serve communities, assist with disaster
recovery, foster skilled trade jobs, make America healthy again, support the military and
veterans, support Tribal communities, make the District of Columbia safe and beautiful,
and support the economic development of Asian American communities. Funding is
being allocated in a new direction in furtherance of the Administration’s agenda.

Your project, as noted below, unfortunately does not align with these priorities:
      Purpose: To support staff salaries and content acquisition fees for the production
and distribution of NPR's music programming.

The agency issued an award to your organization, subject to you agreeing to and
accepting certain terms and conditions. You accepted the offer of funding, which was
subject to the General Terms and Conditions (GTCs) that apply to all NEA awards. Per
your award’s GTCs, the National Endowment for the Arts may terminate a federal award
to the greatest extent authorized by law if an award no longer effectuates the program
goals or agency priorities. These provisions were clearly and unambiguously specified,


                                                                                                                                                                                                                                                                                                                    1 of 2
       Case 1:25-cv-01674-RDM      Document 21-3     Filed 06/13/25    Page 12 of 12


as required by 2 CFR 200.340(b), and are consistent with the requirements of 2 CFR
200.340(a)(4), and the NEA’s authorizing statute at 20 USC 954 and 959. Accordingly,
because your project no longer effectuates agency priorities, the agency is exercising its
ability to terminate this grant award in accordance with the GTCs with which you agreed
to comply.

TERMINATION PROVISIONS
Period of Performance: The period of performance is changed administratively to end
May 31, 2025. NEA support for this project does not extend beyond this date.

Payment requests (if applicable): If you have award funds remaining as of the date of
this notice, you may submit a final payment request reflecting actual, allowable,
approved costs incurred during the revised period of performance. A final payment
request must be submitted by June 30, 2025. Failure to submit a final payment
request by this date will result in the de-obligation of your award’s remaining funding.

Final Reports: You must submit a Federal Financial Report (FFR) for the award by
July 31, 2025. The FFR must reflect actual, allowable, approved costs incurred during
the revised period of performance. All other final and/or interim performance
reporting requirements, including the Final Descriptive Report and the
Geographic Location of Project Activity (GEO), are waived. Failure to submit an
FFR by this date may result in your organization being ineligible for future National
Endowment for the Arts funding opportunities. All other provisions of your award
including record retention requirements remain in effect.

Appeal: You may appeal this determination within seven (7) calendar days of this notice
if you believe your project meets one of the agency’s new priorities. Email
grants@arts.gov and provide documentation that your project supports one of the
specific priorities set forth above.

Sincerely,
The National Endowment for the Arts


*Please do not reply to this email. This email box is not monitored.




                                                                                             2 of 2
